         Case 1:17-cv-00001-NDF Document 18 Filed 07/27/17 Page 1 of 1

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       7KLV PDWWHU is before the Court on the parties’ Stipulation of Dismissal with

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